                Case 3:04-cr-02605-W                     Document 538             Filed 01/08/07               PageID.5687     Page 1 of 5




~AO    2••513
                 (Rev.    9/00) Judgment         in a Criminal     Case
                 Sheet    I                                                                                                  r- J~~N- 8 2~
                                                                                                                                                     ""ORNIA
                                   UNITED STATES DISTRICT COU~                                                                                -_I!   DEPUTY

                                                   SOUTHERN            DISTRICT        OF CALIFORNIA

                  UNITED       STATES       OF AMERICA                             JUDGMENT                  IN A CRIMINAL    CASE
                                      v.                                           (For Offenses Committed On or After November 1, 1987)

                     Michael      Danny Whitt (II)                                 Case Number:             04CR2605-W

                                                                                  Mark F. Adams/Gary              Lozow
                                                                                   Dcfendant's   Attorney
REGISTRATION             NO. 94217198

THE DEFENDANT:
X      pleaded guilty to count(s)           47 of the superseding         indictment      (Filed     1/25/05)

       Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offenses:
                                                                                                                                    Count
Title & Section                            Nature of Offense                                                                      Number(s)
18 use 1505,:2                             Obstruction    of Justice                                                               S47




   The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant                    to the
Sentencing Reform Act of 1984.
The remaining counts of the superseding indictment and the underlying indictment are ordered dismissed.


X     Assessment:             $ 100.00 payable forthwith.
X     Fine ordered waived.
          IT IS ORDERED that the defendant shall noti fy the United States attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and specIal assessments imposed by this judgment are
fully paid. I I' ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change
in the defendant's economic circumstances.
                                                                                  January 8 2007
                                                                                  Date of Imposition of
           Case 3:04-cr-02605-W                        Document 538          Filed 01/08/07          PageID.5688             Page 2 of 5
AO 245B        (Rev. 9100) Judgment in Criminal Case
               Sheet 2 - Imprisonment

                                                                                                        Judgment -   Page   _2   _   of    .2.

DEFENDANT:                        Michael Danny Whitt
CASE NUMBER:                      04CR2605-W


                                                                IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
G    months.




X         The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends placement at Inglewood, Colorado.




o         The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

                      __________                       0 a.m.      o p.m.         on

          o       as notified by the United States Marshal.

X         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          or      USM by 12:00            noon on 3/2/07

          o       as notified by the United States Marshal.

          o       as notified by the Probation or Pretrial Services Office.



                                                                      RETURN

I have executed this judgment as follows:

          Defendant delivered on                                                            to


at    _________________                                 , with a certified copy of this judgment.


                                                                                                    UNITED STATES MARSHAL

                                                                             By
                                                                                              DEPUTY UNITED STATES MARSHAL
            Case 3:04-cr-02605-W                           Document 538                       Filed 01/08/07               PageID.5689                     Page 3 of 5
AO 245B       (Rev. 91(0) Judgment in a Criminal Case
              Sheet 3 - Supervised Release

                                                                                                                                  Judgment-Page            ~            of ----S.
  DEFENDANT:                       Michael Danny Whitt
  CASE NUMBER:                     04CR2605- W
                                                                       SUPERVISED RELEASE

  Upon release from imprisonment.                the defendant         shall be on supervised        release     for a term of 2 years.
                                                                MANDATORY CONDITIONS

        The defendant shall report to the probation                   office in the district     to which the defendant        is released     within 72 hours of release from
  the custody of the Bureau of Prisons.
  The defendant       shall not commit         another     federal.    state or local crime.

  The defendant       shall not illegally      possess     a controlled       substance.

  For ojfcmcs      cO//l//litted   011   or after Septe//lber      / J. /994:

       The defendant shall refrain from any unlawful use of a controlled substance.    The defendant                                 shall submit to one drug test within
  15 days of release from imprisonment   and at least two periodic drug tests thereafter.

  X       The above drug testing condition               is suspended,       based on the court's      determination       that the defendant        poses a low risk of
          future substance     abuse.

          The defendant      shall not possess       a firearm,       destructive   device, or any other dangerous            weapon.

                Drug testing requirements will not exceed submission of more than eight drug tests per month during the term of supervision,
                unless ordered by the Court.
                The
                If thisdefendant
                        judgment shall cooperate
                                  imposes          as adirected
                                            a fine or              in the
                                                         restitution       collection it of
                                                                        obligation,         a DNA
                                                                                         shall       sample, pursuant
                                                                                               be a condition          to 18 release
                                                                                                              of supervised  USC 3583(d)
                                                                                                                                     that the defendant pay
          any such of
          Schedule finePayments
                         or restitution    that in
                                     set forth   remains   unpaid at the commencement
                                                   this judgment.                                         of the term of supervised            release     in accordance        with the


       The defendant shall comply with the standard                       conditions       that have been adopted       by this court.       The defendant       shall also comply
  with any special conditions imposed.


                                             STANDARD CONDITIONS OF SUPERVISION

  I)      the defendant   shall not leave the judicial            district    without   the permission         of the court or probation       officer;

 2)    the defendant shall report to the probation                 officer and shall submit a truthful            and complete     written report within the first five days
       of each month;

 3)    the defendant      shall answer        truthfully    all inquiries      by the probation      officer     and follow the instructions        of the probation          officer;
 4)    the defendant      shall support       his or her dependents            and meet other family responsibilities;

 5)    the defendant shall work regularly                at a lawful occupation,        unless excused         by the probation   officer for schooling,          training,     or other
       acceptable reasons;

 6)    the defendant      shall notify the probation            officer at least ten days prior to any change               in residence      or employment;

 7)    the defendant shall refrain from excessive                  use of alcohol and shall not purchase, possess, use, distribute, or administer                             any
       controlled substance or any paraphernalia                   related to any controlled substances, except as prescribed by a physician;
 8)    the defendant      shall not frequent        places where controlled             substances    are illegally     sold, used, distributed,          or administered;

 9)    the
       of adefendant  shall granted
            felony, unless  not associate  with any
                                     permission      persons
                                                 to do  so by engaged   in criminal
                                                              the probation   officer; activity                       and shall not associate       with any person convicted

10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere                                      and shall permit confiscation
       of any contraband observed 10 plain view of the probation officer;

11)    the defendant      shall notify the probation            officer      within seventy-two      hours of being arrested        or questioned           by a law enforcement
       officer;

12)    the defe.ndant. shall not enter into any agreement                    to act as an informer     or a special     agent of a law enforcement             agency    without the
       permiSSIon of the court;

13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
       criminal record or personal history or characteristics    and shall permit the probation officer to make such notifications and to
       confirm the defendant's   compliance  with such notification requirement.
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AO 245B     (Rev. 9/00) Judgment in a Criminal Case
            Sheet 3 - Continued 2 - Supervised Release

                                                                                                  Judgment-Page    ---A..- of ----5.
DEFENDANT:                 Michael    Danny Whitt
CASE NUMBER:              04CR2605-   W


                                               SPECIAL   CONDITIONS      OF SUPERVISION

          The defendant shall not possess firearms, explosive devices, or other dangerous weapons.
 x        The defendant shall submit to search of person, property, residence, abode or vehicle, at a reasonable time and in
          a reasonable manner, by the probation officer or other law enforcement officer.
 x        The defendant shall report all vehicles owned, operated, or in which the defendant has an interest to the probation officer.

          The defendant shall provide complete disclosure of personal and business financial records to the probation officer as
          requested.

          The defendant shall reside in a Community Confinement Center (CCC ) for a term of six months, as directed by the probation
          officer.
       Case 3:04-cr-02605-W   Document 538   Filed 01/08/07   PageID.5691   Page 5 of 5



AO 245 S FINE
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DEFENDANT: MICHAEL DANNY WHITT (11)                         JUDGMENT PAGE 5 OF 5
CASE NUMBER:04CR2605-W


                                       Restitution

      The defendant shall pay restitution      in the amount of $1 million to the
Clerk, U.S. District Court, who shall forward payment to the Peregrine Litigation
Trust, C/O Robert C. Friese, Litigation         Trust trustee, Shartsis, Friese &
Ginsburg LLP, One Maritime Plaza, 18th Floor, San Francisco, CA 94111, for
distribution   to victims of the securities fraud alleged in In Re Peregrine
Systems, Inc. Securities Litigation,      Case No. 02CV0870-BEN(RBB)      (S.D. CAL) ,
according to the plan of allocation approved by the district court in that case,
which this Court finds to be a reasonable procedure to recognize the rights and
interests of the victims of the securities fraud crimes charged in this criminal
case.
      Payment of restitution shall be forthwith.      If the defendant does not pay
full restitution before incarceration or supervised release, during incarceration
defendant shall pay restitution      through the Inmate Financial Responsibility
Program at the rate of 50% of the defendant's income, or $25.00 per quarter,
whichever   is greater,   and during    supervised   release,   defendant  shall pay
restitution at the rate of 50% of defendant's income.       These payment options do
not foreclose the United States from exercising all legal actions, remedies, and
process available to it to collect the restitution judgment.
      Defendant's restitution   liability shall be joint and several, up to $1
million, with any restitution order entered against the co-defendants in this
case, and any co-conspirators       in related    cases, who are ordered      to pay
restitution to the same victims for the same losses.          In addition, defendant
shall receive a credit, for all restitution payments made in accordance with this
order against any order of disgorgement that may be made in S.E.C. v. Michael
Danny Whitt et al., Case No. 04CV2002-JAH(RBB) (S.D.CAL).
      Until restitution has been paid, the defendant shall notify the Clerk, U.S.
District Court and the United States Attorney's Office of any change in the
defendant's mailing or residence address, no later than thirty (30) days after
the change occurs ..
